Case:16-17557-KHT Doc#:68 Filed:09/27/21              Entered:09/27/21 12:08:56 Page1 of 1




     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

IN RE:                                                      CASE NO: 16-17557 KHT
BRYAN HOWARD PAYNE
                                                            CHAPTER 13
HILLARY ANDREA PAYNE
                   DEBTOR(S)


  TRUSTEE’S STATEMENT REGARDING COMPLETION OF CHAPTER 13 PLAN


        Comes Now, Adam M. Goodman, Chapter 13 Standing Trustee, who does respectfully
state the following:

        Debtor(s) filed a Chapter 13 Bankruptcy petition on July 29, 2016. The confirmed plan
established a plan term of 60 months, and in accordance with 11 U.S.C. Section 1326(a), the first
plan payment was due on August 28, 2016.

     Trustee received the final payment on August 5, 2021 and the Trustee posted the final plan
     payment to the case on August 6, 2021.

        WHEREFORE, based on the foregoing, the Chapter 13 Standing Trustee does not oppose
discharge, and respectfully requests this Honorable Court review this Statement and the record in
this case, and issue an Order regarding the entry of a Chapter 13 Discharge in this case, pursuant
to 11 U.S.C. § 1328(a).

Dated: September 27, 2021                                   /s/Adam M. Goodman_
                                                            Adam M. Goodman
                                                            Chapter 13 Trustee
                                                            1888 Sherman Street, Suite 750
                                                            Denver, CO 80203
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